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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:                                       §           Chapter 11
                                             §
M & G USA CORPORATION, et al.1,              §           Case No. 17-12307 (BLS)
                                             §
Debtors.                                     §           (Jointly Administered)


  THE PORT OF CORPUS CHRISTI AUTHORITY’S RESPONSE TO THE SECOND
       AMENDED JOINT PLAN OF LIQUIDATION OF THE U.S. DEBTORS
                    AND DEBTORS IN POSSESSION

         THE PORT OF CORPUS CHRISTI AUTHORITY (the “Port”), by and through the

undersigned counsel, hereby files this Response to the Second Amended Joint Plan of

Liquidation of the U.S. Debtors and Debtors in Possession (the “Plan”) [Docket No. 2049], and

in support thereof respectfully states as follows:

         1.    On March 12, 2018, the Debtors filed their Third Supplemental Notice of Possible

Assumption and Assignment of Certain Executory Contracts and Unexpired Leases in

Connection with Sale (the “Notice”). [Docket No. 1142].

         2.    Pursuant to the Notice, the Debtors provided certain parties, including the Port,

with notice of the Debtors’ intent to assume and assign their contracts in relation to the sale

transaction contemplated in the Notice.

         3.    The Port is the non-debtor counter party to leases and agreements listed on

Exhibit C to the Notice relating to the Debtors’ property located at 7001 Joe Fulton International

Corridor, Corpus Christi, Nueces County, Texas 78409.

         4.    The Port agrees that the amounts listed in Exhibit C to the Notice are the correct

pre-petition amounts due and owing under the Debtors’ leases and agreements with the Port.




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       5.         Since the filing of the Notice, certain additional amounts have accrued and remain

unpaid under the Debtors’ leases and agreements with the Port in the total amount of

$1,368,540.00.      Attached hereto as Exhibit A is the Port’s accounts receivable analysis

indicating the additional amounts that remain unpaid under the Debtors’ leases and agreements

with the Port.

       6.         On November 30, 2018, Port’s counsel conferred with Debtors’ counsel and

financial advisor, and Port’s counsel was advised that all pre-petition and post-petition amounts

due and owing to cure the Debtors’ executory contacts with the Port will be paid upon closing of

the sale transaction.

       7.         Accordingly, the Port does not object to confirmation of the Debtors’ Plan to the

extent that the Debtors cure the amounts due and owing under the Debtors’ leases and

agreements with the Port upon closing of the sale transaction, including those amounts listed in

the Notice and the amount of $1,368,540.00 that has accrued since the filing of the Notice.

       WHEREFORE, the Port of Corpus Christi Authority requests that any objection of the

Port to confirmation of the Plan be reserved until such time as the amounts owed to the Port as

described herein are paid pursuant to the parties’ agreement, and that all other and further relief

as the Court deems just and proper be awarded.




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Date: December 7, 2018.                Respectfully submitted,

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                                       By: /s/ Lynn Hamilton Butler
                                          Lynn Hamilton Butler
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                                       ATTORNEYS FOR PORT OF CORPUS
                                       CHRISTI AUTHORITY




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                               CERTIFICATE OF SERVICE

       This will certify that a true and correct copy of the foregoing pleading was forwarded via
this Courts CM/ECF notification system to the parties registered for such service on December 7,
2018, including the following:

(i) counsel to the Debtors, Jones Day, 250 Vesey Street, New York, NY 10280, Attn: Scott J.
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Davis Jones, Esq. (ljones@pszjlaw.com), James E. O'Neill, Esq. G oneill@pszjlaw.com) and
Joseph M. Mulvihill, Esq. Gmulvihill@pszjlaw.com); (ii) the Office of the United States Trustee
for the District of Delaware, 844 King St., Suite 2207, Wilmington, Delaware 19801, Attn:
Hannah McCollum, Esq. (Hannah.McCollum@usdoj.gov); (iii) counsel to the Creditors'
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                                                   /s/ Lynn H. Butler
                                                   Lynn H. Butler




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